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                        EXHIBIT C
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Town Board Iv~eeting #1.3                                                     July 5, 20'39


VOTE RESULT:        ADOPTED BY ROLL CALL
                    GounciMman Macko    Aye
                    Gouncilman Schraft  Aye
                    Supsrvisar Hosfer   Aye

RESQLUTIaN2079 #284Advertise io~a Pubic Hearing far PLL #7of2019 - 2onin4

Cnurtcifman Schraft moved and Supervisor Hosier secanded,

BE (T RESOLVED, that the Town Cierk is hereby authorized to post anc~ publish the needed
legal notice for a public hearing to be held July 17, 2019 at 7:10 p.m, in the Evans Town Hali for
consideration of Proposed Local Law #7 of 20 9 regarding Cade revisions to Evans Town Code
Chapter 200: Zoning.

VOTE RESULT:         ADOPTEp BY ROLL CALL
                     Councilman Macko    Aye
                     Councilman Schraft  Aye
                     Supervisor Hosier   Aye

RESUL UT/ON2Q>9 #285Appointrrrent ofSeasona/Lifeguards

Supervisor Hasler moved and Councilman Macko seconded,

BE !T RESOLVED, that the following individuals ~e appointed to the PT Seasonal Lifeguard
position e#fective June 29, 2x19:

Neme                        SaSary               Notes
Alexander Bauer             $11.5Q
Devin Bauer                 $12.00               Captain
Douglas Coleman             $11.50
Jiliian DeMaria             $12.00               Capfiain
Sophia Dudzi~k              $11,50
Gabriella Dynas             $'t 1.50
Emily lgnaczak              $~2.0Q               Captain
Kirsten Lehnen              $~ 1.5D
Noah Lepsch                 $11.50
Chelsea Schiedel            $~f 1.5Q
Paris Smith                 $11.5Q
Deanne Wilson               $11.50
Talia Wright                $11.50

 VOTE RESULT:        ADOPTED BY ROLI. CALL
                     Councilman Macko     Aye
                     Councilma n Schraft  Aye
                     Supervisor Hasler    Aye



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                                                          AFFIDAVIT OF PUBLICATION


                                                  State ofNew York

                                                  County of Chautauqua

                                                  City of Dunkirk


                    tp't8ka llol~Ce UiN2
                 e Town .Board of the                                                                 that
                Ewa or vane; Brie                 Sheila Mc~lison, being duly sworn, deposes and says
               Ckurrty, .New York wii!
               tiota a   ~fc fiearing on
                                                                                                         York
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              .~+rt rt          ,eA,p:1fl
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               ~o~a, New York 14W6 to                                                                  per          published
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                                                                                                         New York,
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               to~Ag~tic~~~        ~~,~d Upe~n
                                           ~;~    in the City of Dl~nkirk, Chautauqua County, State of
                   end Tawn Dade
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                                                   and that a notice of which the annexed is a printed copy,
                     20U:7.onlr~g.
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                ~atKhe avn Board of ups
                Sawn of Evans, brie                                                                            ng
                county, New York wfil              inserted and published in said newspaper on the followi
                hots a public Ts~ering on
               .duty-17,.2015 at 7:10 P.M.
                at the Evans 7avrt Ha[(,           ~~
                        ENe Raad~ Angola,
                       Yodc 14006 to con-
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                         Locel L.aw #E7' d the
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                                                                                 EVfy Camrrii~~i~n expires ~j~~~~~
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Town Board Fleeting #~~~•                                                       ,duly ~7, 2u;9


WHEREAS, the Tawn of Evans amends sF.ctior: 20d-70 permitting page 4 D-1a adding the
overlay map by recommendation pf the Eris County Division of Planning; and

WHEREAS, Section 200-73, page ~5 ;-4 r~~c~s ~arsuant to subdivision 9 O€Real Property Tax
Law in SPS Type 1 owner shalt be required to inter inta a payment in lieu of taxes PILOT
agreement with the town;

NOW, THEREFaRE BE (T RESOLVED, ~l~~t Pro~~osed ~.ocal Law #4 of the year 2019, as
amended, be adapted as Local Law #~ of tl~e y~.~~r 2019.

AND BE IT FURTHER RESQLVED, a copy of tir's resa[ution be provided to the Planning Office,
Cade Enforcement Office and the Tov~~i~ C.3erk's ~f~ice.

VOTE RESULT:          ADOPTED BY RC.)LL ~;P,Lt_
                      Councilman I~R~c'ro      .A~~e
                      Councilman Schr~~t        ~~ty~
                      Supervisor Hosfe:~       riye


                                 LEGAL EVC`f'i~~ ~: ~'fUWN OF VANS

        Please take natice that the Tov~,~ ~c~ard ~:;t she Tawn of Evans, Erie County, New York wit!
E~old a ~ubiic hearing on ,luly 17, 2U19 ~i °i: FC? ~'.1vi. a~ the Evans Town Hall, 8787 Erie Road,
Angola, New York X4006 to consider ~~~e a~l;atiiic~~~ of Proposed Local Law #6 of the year 2019,
pertaining #a Agricultural and Open S~.:~cF: Gi.t:rc~, which will amend Town Code Chapter 200:
Zaning.

      further, please take notice t~~t fihe l`a~n~r, 5nard of the Town of Evans, Erie County, New
York wilt hold a public hearing on Jtaly ~ 7, ;%{?~1 ~3 at 7:1 U P.M. at the Evans Town Ha(I, 8787 Erie
Road, An~oia, New York ~ 4006 to ~,o:;sidE:r tl~c~ adoption of Proposed Local Law #7 of the year
2Q~9, pertaining to Dog Day Care F~rilitiE;s, 4v~~tch will amend Town Code Chapter 200: Zoning.

      Copies of the Proposed Lac~f !__~v~~ ~,vi41 ~~~ available for inspection by any interested
person in the Office of the Town Cl~~r a~.~;•in~ ~~~::r ~ial business hours Monday, Tuesday,
Thursday, Friday from $am - 4pm, ',JVeCn~.s~d~~~' rc~m 9arn - 5pm and the Town's website
www.townofevans.art~.

       A1! parties in interest and ci~izeris st~:iii li ;via an opportunity to be hard by the Town
 Board at the public hearing to be hE;ld ~afort:»i~l.

                                     Ely C~rd~>t' o~ tt~e Town Board
                                         t;+~ ~t~~~ ~'o~~~r of Evans
                                        f„yr~n ~~~1. ~<r~j~cic RMC
                                                  "fG~~+r: Clerk


     ~~~
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Town Board Mee~tine #:~4                                                                                                      July 17, 20~i 9

AND BE fT FURTHER RESOLVL~, ~~ co~::y of t~cis resolution be p~avided to ehe Planning Office,
Cade Enforcement Office and the To~~~n Clerk's Office.

VQTE RESULT:            ADOPTED B`f ~c{ALL CALL
                        Councilman t1Rac~~      A.ye
                        Cauncilm~n  ~~chr~.~₹'t ~,ye
                        Supervisor Has~~~,~     dye

RE'SC1L TU/ON2019 #303 Open tfr~.= F?d~JlG' t-~~ ~J"f_~

Supervisor Hoslsr moved and Co~Ei~cii;nar~ Schraft seconded to open the public hearing.

VOTE RESULT:            ADAPTED E3Y F;ALL C;A~L.
                        Councilman l~~acf;~                                                                       Aye
                        Gatancilman ~>chr.~~t                                                                     Aye
                        Supervisor Hrrsl~~~                                                                       Aye

The following spoke at the public h~G ring:
Opposition: Joshua B4usfi, Nichale ;~c. ~n~i per, fa 11 Henry, Lynda Glascatt
Favnr: Michael Argentieri

RESOD. UT!ON 2d19 #3D4 Close ~~a,a?~ ~ahf.Ir.~ ,~~~~_.r~~

Supervisor Hosier moved and Council;r~at; ~chraf~ seconded to close the public hearing

VQTE RESULT:            ADAPTED E3`f F<L.)LL iaALL.
                        Councilman 11~a{~:-::,                                                                   Aye
                        Councilman ;~~c;l~yt-~;ft                                                                Aye
                        Supervisor H€~sl~•~                                                                      Aye

RES~L UT/ON 2099 #3p5Adotai~ .1?~~overt' ~ o~;:~~' ~.~~ #? o~2fl ~9 - C7vr~ D~ Care

Councilman Macko moved and Ca«r~~ilrrs:-rr Sc=~;ra~₹ seconded,

WHEREAS, the Evans Town Raa~~ci n~~:l~ r, ~~ub~Fc hearing on July 17, 2019 for consideration of
Propa~s~d Local Law #7 a€the year 2[)~I~, ~i~~ a~~~nded, which will amend Section 20Q-21B of the
Evans Town Cade to define permitteu ~,~s~::~ and provide design criteria for Dog Day Care
Services within the General Business CE1 Z'~~~-na District with a Specia# Use Permit, to Evans
Town Cade Section 20Q-21, General E•3usr~Es~; f.:istriet; and

WHEREAS, the recammertded ~rr~r~~_i~~~w, •~ys tc; ~~;-ie Evans Town Cade are consistent with the
Tpwn of Evans Comprehensive PIS n :::,^,~1 z:~r~~ nr.,t e~cpecteci to result in any significant adverse
impacts; and

Nmo~                ~3~Gtrn+.`~J`r"F~A:[4-~':il~i~iy id — ~~.: ]:n./'I   • .•. .• .::'i~1~::.Y: c~' :~M•..:Y~n:•,~u'J•.:~..
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                                                                         .lull 17, 2019
To~vr; Baard Meeting X14

                                                           Lead Agency in accordance with the
WHEREAS, the Town Board of the Town of Evans declares
                                                        action; and
SEAR process and issues a negative declaration for this
                                                          ent of proposed action to the Erie
WHEREAS, the Town of Evans has submitted a fuii statem
                                                            , and has received response to the
County Divis€on of Planning pursuant to GMU Section 239-M
                                                            matter is of local concern;
same dated July 1, 2019 making no recommendation as the
                                                            haw #7 of the year 2019, as
NOW, TH~REFURE BE IT RESOLVED, that Proposed Local
amended, be adnp#ed as Laca( Law #7 of the year 2019.
                                                      tion be provided to the Planning Office,
AND BE IT FURTHER RESOLVED, a copy of this resolu
Code Enforcement Once and the Town Clerk's Once.

VOTE RESUE.T:       ADOPTED BY ROLl~ CALF
                    Councilman Marko     Aye
                    Councilman Schraft   Aye
                    Super visor Hosie r  Aye

 RESOL UT/C1N20~9#3~S Town C/erk's Reports
                                                       to accept the reports of the~7own
 Supervisor Hasler moved and Councilman Marko seconded
 Clerk as presented for the month of Jung 2Q~9:
                                                                      $49,667. ~ 6
        Town C#erk Report Jung                                        $4.84
        interest far June
        Greenspace Fee
                                                                      ~~oa.00
 VOTE RESULT:        ADOPTEp BY ROLL CALL
                     Councilman Macka                 Aye
                     Councilman Schra#t               Aye
                     Supervisor Hasler                Aye

                                                               - So/ar apt Uut.
  RESOL UT/O/V 21119 #307 Remove /tern #1 from Qld Business
                                                                   e item #~ -Solar Opt Out
  Supervisor Hosier moved and Caunci#man Schraft seconded to remov
  from aid Business.

  VOTE RESULT:        ADOPTED BY ROLL CALL
                      Councilman Mack4    Aye
                      Councilman Schraft  Aye
                      Supervisor HQsler   Aye
                                                              r
  RESaL UT/ON2019 #308Appolntrr~ent ofFu// Time Po/ice Office

  Councilman Schraft moved and Councilman Marko seconded,
